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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
GREGORY SMITH,                      )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                Civil Action No. 15-0161 (ABJ)
                                    )
DISTRICT OF COLUMBIA, et al.,       )
                                    )
                  Defendants.       )
____________________________________)


                                            ORDER

       On February 25, 2019, with the consent of the parties, the Court conducted a bench trial

on what remains of Count I, plaintiff’s claim that the defendant District of Columbia is liable

under 42 U.S.C. § 1983 and Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978) for the

deprivation of plaintiff’s constitutional rights. Pursuant to Federal Rules of Civil Procedure 52

and 58, based on the evidence adduced at trial, [Dkt. # 112], the exhibits and deposition excerpts

submitted by the parties, and the Court’s Findings of Fact [Dkt. # 126], and for the reasons stated

on the record at the hearing on December 22, 2020, the Court hereby enters judgment in favor of

the District of Columbia on Count I.

       This is a final appealable order.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: December 22, 2020
